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             [ORAL ARGUMENT HELD DECEMBER 7, 2022]

             IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


JAMES BLASSINGAME AND SIDNEY
  HEMBY,

                      Appellees,                              No. 22-5069

                 v.

DONALD J. TRUMP,

              Appellant.
______________________________________

Consolidated with 22-7030, 22-7031



     UNOPPOSED MOTION FOR 14-DAY EXTENSION OF TIME

      Pursuant to Federal Rule of Appellate Procedure 26(b) and D.C. Circuit

Rule 28(e), the United States respectfully moves for a 14-day extension of time,

to and including March 2, 2023, in which to file any amicus brief in this case.

All parties consent to this motion.

      1. The United States is not a party to this litigation, in which the

plaintiff-appellees have asserted various claims against the defendant-appellant,

former-President Donald J. Trump, in his individual capacity. The Court held

argument in these appeals on December 7, 2022. On December 20, 2022, the
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Court entered an order inviting the United States to file a brief amicus curiae

expressing the views of the United States in these cases. Following one 30-

extension, any brief on behalf of the United States is currently due on

February 16, 2023.

      2. The United States respectfully requests that this deadline be extended

14 days to March 2, 2023. As the Court is aware, any amicus filing in this case

must be authorized by the Solicitor General, a process that involves

consultation with all potentially affected government components. See 28

C.F.R. § 0.20(c). The additional time is necessary to allow those consultations

and deliberations to be completed and to ensure that the Solicitor General has

an adequate opportunity to determine whether and to what extent to authorize

any amicus filing. The additional time will also enable government counsel to

prepare any brief the Solicitor General may authorize.

      3. Counsel for the parties have indicated that the parties do not object to

this request.




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                                CONCLUSION

      For the foregoing reasons, the government respectfully requests that the

Court grant the motion for a 14-day extension of time, to and including March

2, 2023, in which to file any amicus brief.

                                              Respectfully submitted,

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FEBRUARY 2023




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                    CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing complies with the type-volume

limitation of Fed. R. App. P. 27(d)(2) because it contains 289 words, according

to the count of Microsoft Word.


                                            /s/ Sean R. Janda
                                           Sean R. Janda




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